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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

 In re:                                                Chapter 11

 HO WAN KWOK,                                          Case No: 22-50073 (JAM)

                        Debtor.



                     MEI GUO’S MOTION FOR PROTECTIVE ORDER

          Pursuant to Fed. R. Civ. P. 26(c)(1)(B) and 45(d)(3)(A)(4), made applicable to this

proceeding by Fed. R. Bankr. P. 9014 and 9016, and D. Conn. L. Civ. R. 30(a), made applicable

to this proceeding by Local Rule of Bankruptcy Procedure 1001-1(b), party in interest Mei Guo

(“Ms. Guo”), individually and as the designated representative of party in interest Hong Kong

International Funds Investments (USA) LLC (“HKI Delaware”), respectfully moves for a

protective order (the “Motion”) establishing the means by which Pacific Alliance Asia Opportunity

Fund, L.P. (“PAX”) may conduct the May 16, 2022, depositions of Ms. Guo and HKI Delaware

in connection with PAX’s Motion to Dismiss Chapter 11 Case or, In the Alternative, Partial Joinder

to United States Trustee’s Motion for an Order Directing the Appointment of a Chapter 11 Trustee

(the “Motion to Dismiss”) (Doc. No. 183). In support hereof, Ms. Guo represents as follows:

                                              Introduction

          This Motion seeks to ensure, to the extent possible, the physical safety and emotional

security of a young woman through entry of a Court Order establishing reasonable safeguards

related to her upcoming deposition. As set forth in detail below, Ms. Guo is the subject of an

ongoing social media campaign to harass and intimidate her that includes dissemination of altered

and/or fabricated images of her and public references to her location. These messages advocate

and encourage sexual assault and other forms of violence against Ms. Guo and her family.

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Moreover, the persons responsible for this heinous conduct have a history of exploiting

information made public through judicial proceedings, including the Debtor’s Chapter 11 Case.

       PAX has a right to Ms. Guo’s and HKI Delaware’s sworn testimony. At the same time,

Ms. Guo has a fundamental right to be safe and free from threats and intimidation. Ms. Guo

respectfully submits that a Court Order allowing her to testify from an undisclosed location—with

her camera turned off once a certified Court reporter has verified her identify— adequately and

fairly balances those interests.

A.     Jurisdiction and Venue

       1.      This Court has jurisdiction over this matter pursuant to 28 USC §§ 157 and 1334.

       2.      The Motion to Dismiss is a core proceeding pursuant to 28 USC § 157(b)(2)(A).

       3.      Venue is proper in this district pursuant to 28 USC § 1409(a).

B.     Good Cause Exists to Issue the Requested Protective Order

       i.      Ms. Guo and Her Family Have Been Persecuted by the Chinese Communist Party

       4.      Ms. Guo is the daughter of the debtor Ho Wan Kwok (the “Debtor”). (See Affidavit

of Mei Guo, sworn to January 28, 2022, (the “January 28 Aff.”), submitted to the New York State

Supreme Court in support of the Debtor’s opposition to motion for contempt in the matter

captioned Pacific Alliance Asia Opportunity Fund, L.P v. Kwok Ho Wan, et al., Index No.

652077/2017 (the “New York Action”), at ¶1. A copy of the January 28 Aff. is attached hereto as

Exhibit A).

       5.      The Debtor has been a political target of the Chinese Communist Party (“CCP”) for

many years; the Debtor fled to the United States in early 2015 after learning that the CCP was

going to arrest him on politically motivated charges based upon fabricated evidence. (Id., at ¶2).




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         6.     The CCP took out its anger and frustration over the Debtor’s refusal to submit to

false charges on Ms. Guo, her mother, and her extended family. (Id., at ¶3).

         7.     Days after the Debtor arrived in the United States, Ms. Guo and her mother, who

remained in mainland China, were detained by the CCP for approximately 10 days. (Id., at ¶4).

         8.     Ms. Guo was thereafter detained a second time in December 2016. The second

detention lasted approximately 40 days. (Id.).

         9.     During each of her detentions, Ms. Guo’s communications with her family were

cutoff, and she was physically and psychologically tortured. (Id.). For example, Ms. Guo was kept

awake for 48 hours at a time, monitored every minute of every day, and prohibited from physically

moving, using the bathroom, or even brushing her hair, without the permission of her jailers. (Id.).

         10.    Ms. Guo was eventually released by the CCP, but the Debtor remained an

outspoken critic of the CCP and its many abuses, which continued to anger Chinese authorities.

(Id., at 5).

         11.    In or about April 2017, a high-ranking Chinese official told Ms. Guo and her mother

that they would be permitted to briefly visit the Debtor in the United States in order to convince

him to stop exposing the CCP’s corruption and to return to China. (Id.).

         12.    On May 16, 2017, Ms. Guo and her mother traveled from China to the United States

accompanied by the high-ranking Chinese official and several Chinese security agents. Ms. Guo

and her mother were bargaining chips that the CCP intended to use to lure the Debtor back to

China. (Id., at 6).

         13.    The high-ranking Chinese official was unable to coerce the Debtor to return to

China, and once in the United States Ms. Guo and her mother were able to evade the Chinese




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official’s demands that they return to China as well. Instead, they remained in the United States.

(Id.).

         14.     Ms. Guo has a significant and well-founded fear of being re-arrested and tortured

again if she is returned to China; Ms. Guo is thus presently seeking political asylum in the United

States. (Id.).

         ii.     Ms. Guo is the Target of Harassment, Violent Threats and Intimidation Over Social
                 Media

         15.     Although Ms. Guo is no longer subject to the immediate dangers of living in China,

she is not beyond the reach of the CCP and its agents. Indeed, Ms. Guo is regularly the subject of

threats on social media, and she is forced to live in constant fear for her safety. (Id.).

         16.     Politically interested third parties have made threats and vile and disgusting social

media comments directed to Ms. Guo for years. These threats and comments became more focused

when Ms. Guo testified in the New York Action.

         17.     The organizations and individuals who seek to harass and intimidate Ms. Guo have

no boundaries.      Without limitation, they have (i) disseminated falsified or altered images

purporting to be Ms. Guo from fake social media accounts purporting to belong to her; (ii)

attempted to publicly disclose Ms. Guo’s location while publicly encouraging people to sexually

assault Ms. Guo and perform other horrific and violent acts toward her; and (iii) impersonated

individuals who are close with Ms. Guo or her family in order to spread false information about

her from seemingly credible sources.

         18.     The social media campaign against Ms. Guo dates back at least 2017, shortly after

Ms. Guo escaped mainland China to the United States. In October of 2017, a fake twitter account

purporting to belong to Yvette Wang, a business associate of Ms. Guo’s brother, posted an altered




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image of Ms. Guo that was taken from her phone. The post stated Ms. Guo’s age and her height.

(See Exhibit B).1

       19.     In November of 2017, someone posted from a Twitter account stating: “if you don’t

rape Mei Guo tonight, you will have no food tomorrow.” (See Exhibit C).

       20.     In December of 2017, a false Twitter account of someone purporting to be the

Debtor’s assistant posted Ms. Guo’s picture from her Chinese government issued identification

from when she was in high school, with an alteration made to one of Ms. Guo’s eyes. Only the

Chinese government had this photograph. The post purports to say that the owner of the account

felt bad for Ms. Guo because her father raped many women and that she was in the hospital with

Ms. Guo after her abortion. (See Exhibit D).

       21.     Additional Tweets around this time no longer bear dates because the accounts have

been suspended. For example, a fake Twitter account purporting to belong to an assistant of the

Debtor at the time, Yu Yong, which also depicted Ms. Yu’s photograph from her government

issued identification, purports to say that Ms. Yu had to fly to the United States right away because

Ms. Guo was pregnant and needed to have another abortion (allegedly her third). The post includes

a falsified record purportedly from Planned Parenthood that refers to Ms. Guo. (See Exhibit E).

       22.     The social media activity directed to Ms. Guo escalated shortly before she testified

in connection with the New York contempt hearing on February 2, 2022. Many of these posts

establish that people are watching Ms. Guo’s involvement in court proceedings related to the




1
 The social media posts described herein are written in Chinese. The undersigned has attached
screenshots of these posts to allow any party in interest to verify their content. Ms. Guo has not
had time to obtain an official translation of them since the time her counsel determined that this
Motion was necessary. Counsel will obtain official translations upon the Court’s request.
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Debtor’s dispute with PAX and using it to disseminate information about Ms. Guo to harass and

intimidate her.

       23.        For example, on January 5, 2022, someone posted from a Twitter account that if

someone was raping Ms. Guo to please count him in. (See Exhibit F).

       24.        On January 6, 2022, someone posted from a Twitter account: “I will stop by Miles

Kwok’s building today to wait for Mei and to check if she has **** come and join me, I will be

there around 2pm.” (See Exhibit G).

       25.        Ms. Guo’s January 28 Aff. was signed and filed on the New York Supreme Court’s

docket on January 28, 2022. On January 29, someone posted a portion of her January 28 Aff. on

Twitter, including her notarized signature page, and stated: “Mei Guo is in the states and about to

go to the court, according to the document she signed, she signed it on Jan 28th in Queens, she

showed her ID and got notarized which means she is in the states!” (Exhibit H).

       26.        On February 1, 2022, someone posted on Twitter: “Mei Guo's hearing tomorrow is

not public, it's like you go to a nude beach but hiding your private parts.” (Exhibit I).

       27.        On February 7, 2022, someone posted on Twitter a Chinese translation of portions

of Ms. Guo’s testimony from the February 2, 2022, contempt hearing adlibbed with foul language

commentary. (Exhibit J).

       28.        On February 8, 2022, someone posted a screenshot of a letter from Ms. Guo’s New

York counsel to Judge Ostrager and stated: “Mei Guo writes a letter to the judge and says, ‘The

lady may be back asap.’ Why is this ugly pig always wanting to make a scene? Any judge will

F*** her whole family when they see this letter." (Exhibit K).

       29.        Moreover, the statements directed toward Ms. Guo have continued since the Debtor

filed his Chapter 11 petition. On March 2, 2022, someone posted on Twitter: “The hearing was



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virtual, I wonder where is Mei Guo" "She will end up in Fengxian (a village in China that they

chain up a girl for sex slave for the governor officials).” (Exhibit L).

       30.     On April 5, 2022, someone posted: “Feb 2nd, after the court. You can just tell from

her transcript, her words are confusing and not even make sense, just like her asshole dad....”

(Exhibit M).

       31.     Based on (i) the CCP’s actions toward Ms. Guo and her family; (ii) efforts

undertaken by third parties, at least some of whom appear to be agents of the CCP, to post fake

and/or altered images of Ms. Guo; and (iii) efforts undertaken by third parties to report on Ms.

Guo’s location while encouraging physical violence and sexual assault against her, Ms. Guo has a

compelling need to limit access to her image and information concerning her location in order to

protect her physical safety and emotional security.

C.     Law and Argument

       32.     Fed. R. Civ. P. 26(c)(1)(B) provides:

       (c) PROTECTIVE ORDERS.
               (1) In General. A party or any person from whom discovery is sought may
       move for a protective order in the court where the action is pending—or as an
       alternative on matters relating to a deposition, in the court for the district where the
       deposition will be taken. The motion must include a certification that the movant
       has in good faith conferred or attempted to confer with other affected parties in an
       effort to resolve the dispute without court action. The court may, for good cause,
       issue an order to protect a party or person from annoyance, embarrassment,
       oppression, or undue burden or expense, including one or more of the following:
               *       *       *
       (B) specifying terms, including time and place or the allocation of expenses, for the
       disclosure or discovery; . . . .2




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 As set forth in the accompanying declaration of Aaron A. Romney, submitted in accordance with
D. Conn. L. Civ. R. 37, counsel for Ms. Guo and PAX conferred but were unable to resolve or
narrow the matters presented by the Motion.
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       33.     Fed. R. Civ. P. 45(d)(3)(A)(4), applicable to the subpoena served on Ms. Guo to

conduct her individual deposition, provides in pertinent part:

       (3) QUASHING OR MODIFYING A SUBPOENA.
       (A) When Required. On timely motion, the court for the district where compliance
       is required must quash or modify a subpoena that:
       ...
       (iv) subjects a person to undue burden.

       34.      “A court has broad discretion regarding whether to issue a protective order under

Rule 26(c).” Burgess v. Town of Wallingford, No. 3:11-CV-1129 (CSH), 2012 U.S. Dist. LEXIS

135781, *21-*22 (D. Conn., Sept. 21, 2012), (citations omitted). Moreover, “[t]he text of Rule

26(c) is construed liberally to include a wide range of potential harms not explicitly listed.” Id., at

*22-*23, (citations omitted). The party seeking a protective order under Rule 26(c) has the burden

to establish the existence of good cause to obtain the relief sought. (Id., at *22-*23), (citations

omitted). The same framework applies to a motion to quash or modify a subpoena under Rule

45(d). Garneau v. Paquin, No. 3:13-CV-00899(AVC), 2015 U.S. Dist. LEXIS 70272, *3-*4 (D.

Conn., June 1, 2015).

       35.     Ms. Guo has been, and continues to be, subjected to both physical and

psychological persecution by the CCP and others. She seeks a protective order solely to minimize

the extent that the discovery process in her father’s Chapter 11 Case aggravates the abuse to which

she is subject. Under the circumstances present here, the discovery process should not require Ms.

Guo to reveal her location at any given time or present herself in a manner that would allow third

parties to capture and disseminate her image online to an audience that encourages violence and

sexual assault against her.

       36.     For these reasons, good cause exists for the Court to issue a protective order

allowing Ms. Guo to testify at her deposition and as HKI Delaware’s corporate representative from

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a remote, undisclosed location without broadcasting her image to anyone other than the Court

reporter who agrees to be subject to a confidentiality agreement and will verify her identify. See

Garneau, 2015 U.S. Dist. LEXIS 70272, at *6 (“Ordinarily, good cause exists ‘when a party shows

that disclosure will result in a clearly defined, specific and serious injury.’”) (citations omitted);

see also Securities Indus. and Fin. Markets. Ass’n. v. Garfield, 469 F. Supp. 2d 25, 36 (D. Conn.

2007) (granting preliminary injunction preventing on-line publication of a list of political donors

and their family members based on privacy rights and noting that “[t]he Internet has revolutionized

the scope and manner in which information is available for public access. The Internet has also,

unfortunately, provided criminals with a new medium through which to commit crimes.”);

Burgess, at *41-*42 (entering protective order precluding plaintiff from posting transcripts of

depositions conducted in the case on-line without redactions because “the personal information

disclosed includes such identifying information as addresses, phone numbers, and birth dates—

materials which, when placed on the Internet, might provide means for unwanted access to those

individuals named”); D. Conn. L. Civ. R. 30(a) (noting that depositions constitute private matters

“which the public is not entitled to attend”).

       37.     Ms. Guo’s and HKI Delaware’s depositions have been noticed and subpoenaed,

respectively, for May 16, 2022 beginning at 10:00 a.m.

       38.     The Notice and the Subpoena each provide in pertinent part that:

       1. The deposition will be conducted either in person or remotely, using audio-visual
       conference technology;
       2. The court reporter will either report the deposition from the same location as the
       witness or a location separate from the witness and will remotely administer the
       oath to the witness;
       3. Counsel for the parties and their clients will participate either from the same
       location or from separate locations;
       4. The witness may be required to provide government-issued identification, which
       must be legible on camera;
                                       *       *      *

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       8. The deposition may be recorded by stenographic, electronic, and/or visual
       means; and
       9. Counsel for all parties will be required to stipulate on the record their consent to
       this manner of deposition and their waiver of any objection to this manner of taking
       the deposition, including any objection to the admissibility at trial of this testimony
       based on the manner of remote deposition taking.

(A copy of the notice of HKI Delaware’s Deposition is attached hereto as Exhibit N; a copy of the

subpoena compelling Ms. Guo’s deposition is attached hereto as exhibit O).3

       39.     Ms. Guo does not seek to preclude or delay her deposition or HKI Delaware’s

deposition. Ms. Guo only requests that the Court order procedural safeguards to protect her

legitimate privacy and security interests and prevent third parties from obtaining and disseminating

her image or information about her location.

       40.     Under the unique and compelling circumstances present here, Ms. Guo respectively

seeks an order directing that her individual deposition and HKI Delaware’s deposition proceed as

follows:

               a. That PAX conduct the deposition by remote means using either the Microsoft

                   Teams or WebEx platforms. That PAX not be permitted to conduct the

                   deposition on Zoom;

               b. That a court reporter who agrees to a confidentiality agreement control the

                   deposition platform;

               c. That Ms. Guo and the court reporter be permitted to log-in to the platform ten

                   minutes before all other participants so the reporter may confirm Ms. Guo’s

                   identity and swear-her-in;




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 PAX originally noticed Ms. Guo’s deposition for May 12, 2022. The parties moved it to May
16, 2022 by agreement.
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            d. That following confirmation of her identity by the reporter, Ms. Guo be

                permitted to turn off her camera, that the reporter not be permitted to allow

                appearing counsel to enter the virtual room until after Ms. Guo has turned off

                her camera, and that Ms. Guo not be compelled to turn her camera back on

                during the deposition;

            e. That no party be permitted to compel Ms. Guo to provide any information

                concerning her residential address, or the physical location from where she is

                providing testimony. That no party likewise be permitted to compel Ms. Guo to

                provide any information concerning the residential address or physical location

                of her family members who have been subjected to persecution by the CCP and

                ongoing harassment;

            f. That Ms. Guo’s individual deposition and HKI Delaware’s 30(b)(6) deposition

                only be recorded by stenographic and audio means and only by the court

                reporter;

            g. That no person be permitted to record video of any portion of the deposition or

                take screenshots of the deposition;

            h. That for at least three (3) full business days from when Ms. Guo’s counsel

                receives a copy of the transcript of Ms. Guo’s deposition, access to the transcript

                be limited to the eyes of the attorneys who have appeared for PAX, HKI

                Delaware, the Debtor, the Office of the United States Trustee and the Official

                Committee of Unsecured Creditors, in order to allow Ms. Guo’s and HKI

                Delaware’s counsel sufficient time to seek an additional protective order

                limiting the use of certain portions of the transcript. If Ms. Guo and/or HKI



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                   Delaware files such a motion for protective order, Ms. Guo requests that the

                   restrictions on the transcript continue until such time as the Court rules on the

                   motion for protective order.

       41.     Ms. Guo respectfully submits that the forgoing safeguards will permit PAX to

obtain the information it seeks from Ms. Guo and HKI Delaware while ensuring, to the fullest

extent possible, Ms. Guo’s physical safety and emotional well-being. A copy of Ms. Guo’s

proposed Order granting this Motion is attached hereto.

                                         CONCLUSION

       Ms. Guo is a non-party to PAX’s Motion to Dismiss, which is the contested matter to which

the subpoena to Ms. Guo and deposition notice to HKI Delaware relate. Ms. Guo has been

persecuted by a foreign government and others. She has documented herein that third parties have

wrongfully disseminated her image and information concerning her location in order to threaten,

embarrass and humiliate her. The procedural safeguards sought herein are designed to allow Ms.

Guo to provide PAX with the sworn testimony that it seeks without compromising Ms. Guo’s

physical safety or emotional security.

       For these reasons, Ms. Guo respectfully requests that the Court grant the relief sought

herein and order such further relief as the Court deems just and proper.




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Dated this 10th day of May, 2022.
                                                       MEI GUO


                                                       By: /s/ Aaron A. Romney, Esq.
                                                       Stephen M. Kindseth (ct14640)
                                                       Aaron A. Romney (ct28144)
                                                       Zeisler & Zeisler, P.C.
                                                       10 Middle Street, 15th Floor
                                                       Bridgeport, CT 06604
                                                       (203) 368-4234
                                                       (203) 368-5473 (fax)
                                                       Email: skindseth@zeislaw.com
                                                               aromney@zeislaw.com
                                                       Its Attorneys




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of May, 2022, a copy of foregoing was filed

 electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

 Court’s electronic filing system or by mail to anyone unable to accept electronic filing as

 indicated on the Notice ofElectronic Filing. Parties may access this filing through the Court’s

 CM/ECF System.



                                                        /s/ Aaron A. Romney, Esq.
                                                        Aaron A. Romney




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